                                             FEDERAL PUBLIC DEFENDER
                                                    Southern District of Florida
                                                          www.fpdsouthflorida.org

Hector A. Dopico
Federal Public Defender                                                                        Location: Fort Lauderdale

Helaine B. Batoff
Chief Assistant

                               December 12, 2024
Miami:

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Bunmi Lomax
   Supervising Attorneys
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                               Clerk of Court
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                               U.S. Court of Appeals for the 11th Circuit
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Eric Cohen
Tracy Dreispul                 Atlanta, Georgia 30303
MaeAnn Dunker
Daniel L. Ecarius
Sogol Ghomeshi
Jean-Pierre Gilbert            RE:      United States v. Haitham Yousef Alhindi, no. 24-10595
Alexandra Hoffman
Andrew Jacobs                           Argued December 11, 2024 in Miami, Florida
Srilekha Jayanthi
Ashley Kay
                               Dear Mr. Smith:
Evan Kuhl
Ian McDonald
Kate Mollison
Leticia Olivera
Ta’Ronce Stowes
Marisa Taney                   During oral argument an issuer arose suggesting that dismissal of the
                               indictment below per se deprived this Court over jurisdiction to rule on the
Kate Taylor
Victor Van Dyke


Ft. Lauderdale:
                               validity of the order appealed from and the appeal was thus moot.
Robert N. Berube               Pursuant to Fed. R. App. P. 28(j), appellant, Mr. Alhindi, by and through
  Branch Supervisor
Bernardo Lopez,                undersigned counsel, hereby brings the following case to the attention of
  Supervising Attorneys

Andrew Adler                   this Court:
Huda Ajlani-Macri
Janice Bergmann
Brenda G. Bryn
Timothy M. Day
                               United States v. Villamonte-Marquez, 462 U.S. 579 (1983). A jury
Allari Dominguez
Margaret Y. Foldes
                               convicted the defendants on drug importation charges. On appeal, the
Sara Kane
Jan C. Smith
                               conviction was vacated and reversed based on a Fourth Amendment
Wesley Wallace                 violation. The government allowed the stay of the mandate to lapse and
West Palm Beach:               the appellate mandate issued. On remand, the government subsequently
Peter Birch,                   moved to dismiss the indictment. The district court granted the motion
   Branch Supervisor
                               and dismissed the indictment. The defendants were deported. Id. at 594-
Robert E. Adler
Lori Barrist                   595. The Supreme Court rejected the argument that the case had become
Scott Berry
Caroline McCrae                moot based on the issuance of the mandate, the subsequent dismissal of
Kristy Militello
                               the indictment on the government’s own motion, and the government’s
Fort Pierce:                   deportation of the defendants. Id. at 589, n.2 Finding no Fourth
Kafahni Nkrumah                Amendment violation, the Supreme Court reversed the judgment of the
Renee Sihvola
                               Court of Appeals. Id. at 592. The reversal served to reinstate the criminal
                               judgment in the case that had been dismissed on the government’s own
                               motion.

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David J. Smith
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Here, Mr. Alhindi is still detained at Butner FMC based on the February 21, 2024
order of detention even though any release from detention is stayed because the
government filed a § 4246 certificate in the EDNC. No subsequent order of detention
has been entered and none would be authorized until the conclusion of the civil
commitment proceedings. 18 U.S.C. § 4246(d). Under Villamonte, dismissal of the
indictment does not prevent review of that order. If that order is invalidated by this
Court, the government will be unable to prove that Mr. Alhindi was in 4241(d)
custody when it filed the § 4246 certificate and the civil commitment proceeding will
be terminated. See United States v. Carrington, 91 F.4th 252, 258-261 (4th Cir. 2024).

                                              Respectfully Submitted,

                                              s/ Bernardo Lopez
                                              Bernardo Lopez
                                              Assistant Federal Public Defender
                                              Counsel for Appellant Alhindi


cc: Jorge Delgado, Assistant United States Attorney
